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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

MALEEHA AHMAD, et al.,                         )
                                               )
                       Plaintiffs,             )
                                               )
       v.                                      )       No. 4:17-cv-2455 CDP
                                               )
CITY OF ST. LOUIS, MISSOURI,                   )
                                               )
                       Defendant.              )


                      Memorandum in Support of Motion to Vacate Stay

       On July 12, 2019, this Court granted Defendant’s motion to stay proceedings pending its

interlocutory appeals to the Eighth Circuit. ECF No. 191. The stay was granted over the

opposition of Plaintiffs, who were prepared to prosecute their case on the merits as scheduled on

August 26, 2019. ECF No. 189. Defendant and this Court both relied on the fact that Defendant

did not seek to stay the preliminary injunction as a support for the conclusion that Plaintiffs

would not be prejudiced by a stay. ECF Nos. 187, 191.

       On April 27, 2021, a panel of the Eighth Circuit issued an opinion and judgment in

Defendants’ appeals, which had been consolidated. ECF No. 195. The panel majority directed

that upon remand a final judgment be entered no later than October 31, 2021. Id. Furthermore,

the panel majority determined that the preliminary injunction must be vacated if the majority’s

deadline is not satisfied. Although the time for the filing of petitions for rehearing has not

expired, because of the compressed time frame and the harm to Plaintiffs and the public if the

preliminary injunction lapses without permanent relief in place, the stay should be lifted

immediately.




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       This Court has retained jurisdiction. See Britton v. Co-op Banking Grp., 916 F.2d 1405,

1412 (9th Cir. 1990) (“an appeal of an interlocutory order does not ordinarily deprive the district

court of jurisdiction except with regard to the matters that are the subject of the appeal”);

Janousek v. Doyle, 313 F.2d 916, 920 (8th Cir. 1963) (“appeal from [an interlocutory

order] does not ipso facto divest the district court of jurisdiction to proceed with the cause with

respect to any matter not involved in the appeal, or operate to automatically stay other

proceedings in the cause pending the appeal”). Indeed, “[a]n appeal [under Rule 23(f)] does not

stay the proceedings in the district court unless the district court or the court of appeals so

orders.” Fed. R. Civ. P. 23(f). Proceedings are stayed in this case only because this Court so

ordered, not because this Court lost jurisdiction.

       The equitable concerns that occasioned entry of the stay are no longer present, and the

prospect of dissipating interim relief introduces a new risk of harm to Plaintiffs and the public.

Plaintiffs and the public maintain a strong interest in prompt resolution of this case prior to the

expiration of the preliminary injunction. While Plaintiffs were prepared for the previously

scheduled trial, an immediate lift of the stay will enable both parties to adequately prepare for a

new trial date. This Court has the inherent power to control its docket and to ensure that each

case is handled “with economy of time and effort for itself, for counsel, and for litigants.” Landis

v. North Amer. Co., 299 U.S. 248, 254 (1936). Thus, consideration of a stay requires an “exercise

of judgment, which must weigh competing interests and maintain an even balance.” Id. at 254–

55. The party in favor of a stay “must make out a clear case of hardship or inequity in being

required to go forward, if there is even a fair possibility that the stay for which he prays will

work damage to someone else.” Id. at 255; accord Jones v. Clinton, 72 F.3d 1354, 1364 (8th

Cir.1996).



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        Defendant advanced two reasons for a stay, which no longer apply. First, Defendant

opined that the Court of Appeals might find Plaintiffs lack standing and, thus, direct that the case

be dismissed. Second, Defendant contended that the Court of Appeals might determine that this

matter cannot proceed as a class action, a finding which could alter how the parties present their

cases at trial. Neither concern has come to pass. The panel rejected Defendant’s contention that

the case must be dismissed for lack of standing and “vacate[d] the class certification order

without prejudice to plaintiffs renewing their request after a final order has been entered on their

claim for permanent injunctive relief, at which point the district court can better assess whether a

Rule 23(b)(2) class is appropriate and necessary to afford proper equitable relief.” As a result,

this matter will proceed to trial on Plaintiffs’ request for permanent relief and this Court can

consider class certification after trial.

        For all these reasons, this Court should vacate the stay.

                                                      Respectfully submitted,

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